         Case 1:16-cv-02214-KBJ Document 58 Filed 08/22/18 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                           )
ASSOCIATION OF INDEPENDENT                 )
PHARMACEUTICAL                             )
WHOLESALERS, INC.,                         )
                                           )
              Plaintiff,                   )
                                           )
              v.                           )      No. 16-cv-2214 (KBJ)
                                           )
OPTUMRX, INC., et al.,                     )
                                           )
              Defendants.                  )
                                           )

      PROVISIONAL ORDER DISMISSING CASE DUE TO SETTLEMENT

       On August 22, 20189, the parties in this matter filed a joint notice informing the

Court that they have reached a settlement. (ECF No. 57.) Upon receipt of notice that a

matter has settled, it is the practice of this Court to issue a provisional order of

dismissal that permits the parties to reopen the matter if the settlement is not

consummated. (General Order and Guidelines for Civil Cases Before Judge Ketanji

Brown Jackson, ECF No. 6, App’x ¶ 7(b).) Accordingly, it is hereby

       ORDERED that this case is DISMISSED without prejudice. If settlement is not

consummated, either party may reopen the action until October 6, 2018, upon motion

approved by the Court. Should counsel fail to move to reopen the case within the

prescribed period, the case shall, without further order, stand dismissed with prejudice.



Date: August 22, 2018                      Ketanji Brown Jackson
                                           KETANJI BROWN JACKSON
                                           United States District Judge
